                                                         July 26, 2022

By ECF

The Honorable John P. Cronan
United States District Judge
Southern District of New York
500 Pearl St.
New York, NY 10007

                Re:     United States v. Seth Andrew, 22 Cr. 32 (JPC)

Dear Judge Cronan:

        As Your Honor knows, we represent Seth Andrew in the above-captioned case. We write
in reply to the government’s Sentencing Submission to underscore that Seth’s actions prove
beyond any doubt that he deeply regrets his decisions and has taken full responsibility for his
conduct. For these reasons, and for the reasons set forth in the defense’s initial Sentencing
Submission, we respectfully submit that a sentence of home confinement, followed by three
years’ probation, is a just result and will satisfy the purposes of sentencing.

    I.       Seth Was Not Driven By Greed

       After this prosecution became public, Seth was characterized as having moved the
escrow funds principally to obtain a more favorable interest rate on his family’s home mortgage.
Seth has therefore stood publicly accused of transferring these funds for the primary purpose of
enriching himself.

       But as we have sought to explain, and as the government acknowledges, Seth’s decision
was not driven by greed. See Govt. Subm. at 5; id. at 6, n.3 (“Andrew did not steal DPPS’s
money simply to lower his interest rate. That was a collateral benefit.”). Moreover, the funds
were not necessary for Seth to reach the threshold needed for an interest rate deduction. Id. at 6,
n.3. 1

        For his part, Seth has never denied that he sought to obtain an interest rate deduction
from Bank-2. To the contrary, Seth has frankly admitted this fact. Def. Subm. at 19. But as the
defense explained in our Sentencing Submission, Seth’s decision to move the escrow funds was
not driven by greed. Id. This is not an effort to deflect responsibility. Instead, Seth has


         1
          As the government points out, on April 18, 2019, Seth’s IRA was transferred to Bank-2, which
would have made the escrow funds unnecessary in reaching the relevant threshold. Govt. Subm. at 6, n.3.
Documents from Bank-2 also demonstrate that Seth’s mortgage interest rate was not locked at 2.5% until
August 2019. Prior to the issuance of the Final PSR, the defense repeatedly raised with the government
the question of whether the escrow funds ultimately entitled Seth to obtain an interest rate deduction. See
PSR at 31–32.
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confronted, and admitted to, the more nuanced and complicated motives behind his decision,
none of which are flattering and none of which were justified.

   II.     Seth Was Not Driven By A Desire For Vengeance

        The government now contends that Seth was “chiefly motivated to cause harm” to
Democracy Prep Public Schools (“DPPS”). Govt. Subm. at 11. As Seth has acknowledged, his
actions were driven in part by ego, frustration with the management of DPPS during a time of
uncertainty, as well as a desire to be proven right. Def. Subm. at 19–20. Again, none of these
motivations justify Seth’s actions. But they are distinct from a desire to harm DPPS.

        Indeed, the facts of Seth’s life and career belie such an assertion. He has devoted his
entire adult life to improving both the education system as a whole and the individual lives of
students. There is nothing about Seth’s history that suggests he would malevolently and
methodically seek to harm such an organization, especially DPPS, and by extension, the students
it serves.

        Seth admits that, by March 2019, he was frustrated with the leadership of DPPS and the
direction in which he perceived the organization was moving. Def. Subm. at 17–18, 20–21. He
disagreed with DPPS’s management on a number of issues, including the treatment of escrow
funds. Id. at 18. He was also frustrated that the leadership of DPPS ignored his ideas and
proposals. Id. This frustration, and Seth’s desire to be proven right about the escrow funds, is
part of the reason he decided to transfer the funds.

        That Seth was motivated in part by a desire to prove himself right, is corroborated by
Seth’s March 10, 2019 e-mail to DPPS Board Chairman Ryan Offutt. Govt. Ex. B. Of the
thousands of e-mails Seth has written in his career, this message does not present Seth at his
most tactful. Indeed, it showcases Seth’s sometimes aggressive and hard-nosed style. But it also
demonstrates that Seth perceived DPPS’s challenges to be very urgent. Among the issues he
sought to address: “Fix financial controls (on issues like escrow accounts, that I will demonstrate
to you immediately).” Id. at 3 (emphasis added). Seth subsequently made the horrible decision
to transfer the escrow funds.

        The government wrongly characterizes Seth’s admissions about his motive as
“inappropriate victim-blaming.” Govt. Subm. at 1. A fair reading of the defense’s entire
memorandum makes abundantly clear that this accusation is misguided. E.g., Def. Subm. at 17
(“Seth does not ask the Court to excuse his conduct because of any of the factors described
herein.”); id. at 21 (“None of these points take away from the fact that Seth is guilty and accepts
full responsibility for his conduct. We present this broader context simply to help explain Seth’s
mindset at the time of the offense.”). But to avoid the possibility of any misunderstanding, we
reiterate that Seth blames only himself for his conduct. The fact that Seth was frustrated, even
angry, at DPPS’s leadership for what he perceived to be their mistakes, does not in any way
excuse what Seth did. And he has never suggested otherwise. Nevertheless, in order to impose a
just sentence, this Court must have as complete and accurate an understanding as possible of
Seth’s mindset at the time of the conduct. While it may be tempting to label this case in simple
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terms, characterizing Seth as a vengeful plotter misses the mark, just as did prior
characterizations of the offense as a crime of greed.

    III.       Democracy Builders Fund Was Not An Ego Project For Seth

        As the government concedes, Seth did not spend any of the transferred funds on goods or
services for himself and instead ultimately moved the funds into an account of Democracy
Builders Fund, another nonprofit. Govt. Subm. at 5, 13. This is an important mitigating fact that
distinguishes this case from the mine-run of wire fraud prosecutions and strongly militates in
favor of a non-Guidelines sentence.

        The government suggests that by bolstering Democracy Builders Fund’s finances, Seth
was simply helping himself. Id. at 13. To be sure, like every motivated professional, Seth takes
pride in his work and accomplishments and those facets of his life are, as with anyone,
intertwined with his ego. 2 It is also true that Seth’s ego contributed to how he perceived DPPS
in March of 2019 and his decision to transfer the escrow funds. Seth wrongfully rationalized that
he knew best how to manage the dormant escrow accounts, and this is part of the reason he made
the mistake that has led to this moment. Seth makes no excuse for this.

        But it would be wrong for this Court to conclude that Seth crassly used Democracy
Builders Fund, or any of his professional endeavors, to merely gather accolades, pad his resume,
or fuel an ego. The decisions Seth has made throughout his career emphatically prove this is not
the case. When Seth founded DPPS and its first charter school (Democracy Prep Charter
School) in 2005, it was a venture far more likely to fail than succeed. Seth’s commitment to
serving the most vulnerable students, rather than advancing those who were more successful, is
entirely at odds with someone looking for quick fame and public acclaim. As one of Seth’s peers
explained:

           Seth and his team would use Census data, find the poorest streets, go knock on the
           doors, and find the families with the least social capital. In doing so, Seth knew
           that he and his teachers would be getting kids who’d likely arrive with the most
           acute academic needs, and therefore it would put great test score pressure on his
           schools. He shrugged. He wanted to let the chips fall where they may so long as
           they were giving opportunity to students that others might shy away from.




           2
           The success of Democracy Builders Fund would of course have been better for Seth’s reputation
than its failure. But the escrow funds were not necessary for the survival of Democracy Builders Fund.
See Govt. Subm. at 5. To the extent the Court’s sentence should take this intended reputational benefit
into account, it also should recognize that Seth’s reputation has been utterly destroyed already. No
additional punishment is needed on this score.
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Def. Ex. CC, M. Goldstein Letter. 3

Seth’s goals for Democracy Builders Fund evince a similar commitment to tackling genuine and
daunting challenges. Democracy Builders Fund’s focus was to be on the 16% of Democracy
Prep Charter School alumni who had not yet succeeded at four-year colleges. PSR ¶ 115.

        Simply put, if Seth were a person driven to achieve success for its own sake, there were
many easier paths he could have taken in his professional life. The evidence is clear that Seth’s
commitment to Democracy Builders Fund, as with all his professional endeavors, was grounded
in strong values and sincere motives. The fact that Seth transferred funds from one educational
nonprofit to another educational nonprofit, and spent none of the money on himself, makes this
case unique and is a significant mitigating factor.

    IV.       Seth Has Rigorously Confronted His Motives And Accepted Responsibility For His
              Conduct

        It is impossible to overstate how deeply Seth regrets his decision to move these escrow
funds. He knows that this was inexcusable conduct that he will have to atone for, and live with,
for the rest of his life. Seth does not blame DPPS for his actions. He blames no one but himself
and is sorry for the harm that he has caused. The government’s suggestion to the contrary is off
the mark.

        The government points to excerpts from Seth’s change of plea hearing as evidence that
Seth “has chosen to ‘not dwell on th[e] details’ of his conduct” and therefore not fully accepted
the wrongfulness of his conduct. Govt. Subm. at 1 (quoting 1/14/22, Tr. (Govt. Ex. C) at 35).
The government’s conclusion is unwarranted. First, Seth clearly stated to the Court that he did
not dwell on the details of his conduct, at the time of the transfer. 1/14/22 Tr. (Govt. Ex. C) at 35
(“At the time, I did not dwell on those details, your Honor.”) (emphasis added). In other words,
Seth was trying to explain – not justify – why he had gone through with his actions. He has
unsparingly acknowledged his deep regret for his conduct.

       Admitting to the Court, his family, and the community that, at the time of the offense, he
chose to ignore facts and considerations that he should have taken seriously underscores that
Seth has accepted responsibility. There can be no doubt that, if Seth had set aside his frustration
with the management of DPPS, considered his conduct more carefully, and thought through its
consequences, he would never have moved these funds in the first place.

       Since his arrest, Seth has deeply examined the details of his conduct and the reasons
behind it. Through that process he has been, by far, his own harshest critic. See Def. Subm. at

          3
          The defense has submitted letters from people who know Seth in a personal or professional
capacity and are therefore qualified to address this Court on issues relevant to sentencing, including
Seth’s history and characteristics. For its part, the government has included two letters written by people
whom the government concedes are not victims, Govt. Subm. at 9, who apparently neither know Seth in
any meaningful way nor know anything about this case. We respectfully submit that these individuals’
opinions are extraneous and irrelevant to the § 3553(a) factors.
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26–27; Def. Ex. A, L. Zak Letter (“[T]he man in your courtroom today has been forged into a
better version of himself. More appreciative of his blessings, the person who you now judge is a
better man than the one in the complaint. . . . Seth has grown so much in this time period. Too
busy for self-care before, he has slowed down and done challenging personal work. . . . Known
for a brutal honesty and bold moves in the past, he has taken time to evaluate his own conduct
and learn from it.”).

         Second, focusing on, and drawing broad conclusions from a few of Seth’s statements at
the change of plea hearing, would miss the forest for the trees in a way that is particularly unfair
to Seth. Seth’s change of plea on January 14, 2022 was one of the very worst days of his life.
Although such hearings are routine for the Court, its staff, prosecutors, and defense counsel, the
same is not true for ordinary citizens. To Seth, the change of plea hearing signaled the death of
the life he had been building for his entire professional career. It was a terrifying, humiliating,
and heartbreaking experience. To the extent that Seth failed to express himself clearly or
eloquently during the hearing, we respectfully ask the Court to consider such missteps in their
appropriate context. 4 The fact remains that Seth entered a guilty plea and expressed his
“tremendous remorse for the impact that [his conduct] has had on the schools, the alumni, and
[his] own family.” 1/14/22 Tr. (Govt. Ex. C) at 33.

       Finally, Seth’s conduct is far more compelling evidence that he has accepted
responsibility than anything said at the change of plea hearing. As the government
acknowledges, Seth waived indictment, pled guilty without reviewing any discovery, and
personally paid the restitution and forfeiture amounts well before he was required to do so.

        4
          The government also misinterprets a question raised by Seth regarding the identity of the victim.
See Govt. Subm. at 12. A reading of the context surrounding Seth’s question demonstrates that it was not
posed in the manner the government has suggested. Immediately preceding Seth’s comment, the Court
explained that:

        There is an agreement to the restitution amount in the plea agreement. When I receive
        the presentence investigation report from the probation department, I will be provided
        information regarding restitution for victims. As with other provisions in the plea
        agreement, this is an agreement between you and the government. I’m not saying I will,
        but in the event that I think a different restitution amount is appropriate, I may potentially
        order a different restitution amount, but, obviously, if that’s the case, I would be hearing
        from the parties, including your attorney, as to what is proper. Do you understand that?

1/14/22 Tr. (Govt. Ex. C) at 24–25 (emphasis added).

Seth responded, “I believe I do. When we’re referring to the victim, who are we speaking of?” Id. at 25.

         As the Court correctly noted, it is up to the Court to determine the appropriate amounts of
restitution for the victims. Seth, of course, knew that DPPS was a victim and had signed an agreement
which he understood obligated him to pay restitution to DPPS. After hearing that the Court had
discretion to determine restitution for the “victims,” Seth was confused about whether there were any
others who could be entitled to restitution. After receiving clarification from defense counsel, Seth asked
no further questions about this matter. Id. at 26.
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Govt. Subm. at 8. Seth has also engaged in a rigorous course of therapy and self-reflection that
has required him to dissect, in unsparing fashion, the aspects of his personality that contributed
to his decisions. These actions, rather than any words, are proof positive that Seth has fully
accepted responsibility and come to profoundly regret what he has done.

                                         *       *       *

        The Court must “impose a sentence sufficient, but not greater than necessary, to comply
with the purposes” of sentencing set forth in 18 U.S.C. § 3553(a). For reasons set forth here and
in the defense’s initial Sentencing Submission, we respectfully submit that a prison sentence is a
greater punishment than is necessary in this case. Seth acknowledges the seriousness of the
offense, accepts full responsibility, and will continue to do everything in his power to repair the
harm he has caused. We ask the Court to impose a sentence of home confinement followed by
three years’ probation.



                                                     Respectfully submitted,


                                                By: ____________________________

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cc:    AUSA Ryan B. Finkel (by ECF)
